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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA

      v.

 MICHAEL A. SUSSMANN,                                       Case No. 1:21-cr-00582 (CRC)

                             Defendant.

 RODNEY JOFFE,

                             Proposed Intervenor.


                   NOTICE OF APPEARANCE OF STEVEN A. TYRRELL

        PLEASE TAKE NOTICE that the undersigned hereby enters his appearance in this

matter as counsel for Rodney Joffe, and requests that all parties serve on the undersigned copies

of all papers filed in or affecting this action.


Dated: February 23, 2022

                                                   Respectfully Submitted,


                                                   /s/ Steven A. Tyrrell

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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 23, 2022, I caused the forgoing to be filed and served

via electronic mail upon all counsel of record:


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